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                                                                                                              United States District Court
                                                                                                                Southern District of Texas

                                                                                                                   ENTERED
                                                                                                                   July 10, 2019
                                                                                                                David J. Bradley, Clerk
                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

NAAM L. MATTHEWS,                                                                §
             Plaintiff,                                                          §
                                                                                 §
v.                                                                               §          CIVIL ACTION NO. 4:18-04692
                                                                                 §
THE CBE GROUP, INC.,                                                             §
             Defendant.                                                          §

                                                                         ORDER

            Before the Court is Plaintiff’s Motion for Protective Order (“Motion”) [Doc.

# 19]. It is hereby

            ORDERED that on or before Friday, July 12, 2019, Defendant must file a

letter setting forth the status of the issues in dispute and its positions on open

matters. It is further

            ORDERED that the parties are directed to confer further in an attempt to

resolve or narrow this dispute. Correspondence between counsel negotiating a

resolution of the dispute should not be sent to the Court. It is further

            ORDERED that the Court will hold a conference regarding the parties’

dispute on July 16, 2019, at 1:00 p.m. The parties are directed to notify the

Court’s Case Manager Shelia Ashabranner by telephone, (713) 250-5407, and

email, Shelia_Ashabranner@txs.uscourts.gov, as soon as possible if the conference

becomes unnecessary.
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            SIGNED at Houston, Texas, this 10th day of July, 2019.




                                                                              NAN Y F. ATLAS
                                                                     SENIOR UNI   STATES DISTRICT JUDGE




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